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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

EARL PARRIS, JR., etc.,



                 Plaintiff,
                                           Civil Action No.:
v.                                         4:21-cv-00040-TWT

3M COMPANY, et al.,

                Defendants.



          MOTION TO CERTIFY QUESTIONS TO THE
  GEORGIA SUPREME COURT OR FOR INTERLOCUTORY APPEAL
                BY DAIKIN AMERICA, INC.


        Daikin America, Inc. (“DAI”) respectfully moves this Court to certify two

questions of state law to the Georgia Supreme Court under Ga. Code Ann. § 15-2-

9(a):

        1. Does a manufacturer owe a common-law duty to unknown third parties to
        protect them from another entity’s negligent disposal of the manufacturer’s
        product?

        2. Can a manufacturer be liable for an alleged nuisance caused by the
        manufacturer’s product that occurs only after the sale of the product?




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      In the alternative, DAI moves the Court to certify its order denying DAI’s

motion to dismiss (Doc. 136) for interlocutory appeal under 28 U.S.C. § 1292(b).

      As required by Local Rule 7.1(A)(1), this Motion is “accompanied by a

memorandum of law which cites supporting authority.”



Dated: April 27, 2022                            Respectfully submitted,

 /s/ William E. Underwood                        /s/ Theodore M. Grossman
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                           CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of Local Rule 5.1C of the Northern

District of Georgia, using 14-point Times New Roman font, as approved by the

Court.

                                        /s/ Theodore M. Grossman
                                        Theodore M. Grossman, Pro Hac Vice




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                            CERTIFICATE OF SERVICE
     I certify that on April 27, 2022, I served the foregoing on all parties by filing

on CM/ECF.



                                           /s/ Theodore M. Grossman
                                           Theodore M. Grossman, Pro Hac Vice

                                           Counsel for Defendant
                                           Daikin America, Inc.




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